Case 4:17-cr-00011-RAJ-DEM Document 44 Filed 11/06/20 Page 1 of 7 PageID# 212



                                                                                        FILED
                      FOR THE EASTERN DISTRICT OF VIRGINI
                                     Newport News Division                           NOY     6 2020

ANDRE MARQUIS MONROE,                                                          CLERK, U.S. DISTRICT COURT
                                                                                       NORFOLK. VA

                       Petitioner,

       V.                                                CRIMINAL ACTION NO.4:17-cr-l 1

UNITED STATES OF AMERICA,

                       Respondent.

                           MEMORANDUM OPINION AND ORDER


       Before the Court is Petitioner Andre Marquis Monroe's ("Petitioner") pro se Motion to

Vacate, Set Aside, or Correct a Sentence pursuant to Title 28, United States Code, Section 2255.

For reasons set forth below, the Petitioner's Motion is DENIED.

                        I. FACTUAL AND PROCEDURAL HISTORY


       On April 7, 2017, Petitioner was charged in a ten-count superseding indictment for a

variety of drug-related offenses to include conspiracy, distribution of cocaine, possession with the

intent to distribute cocaine, and the use of a firearm in furtherance of a drug trafficking crime. ECF

No. 3. On June 12, 2017, Petitioner pled guilty to Counts 1 and 10 of the indictment. Count 1

charged Petitioner with Conspiracy to Distribute 280 Grams or More of Cocaine Base and 5

Kilograms or More of Cocaine, in violation of 21 U.S.C. § 841(a)(1) and (b)(l)(A)(iii). ECF No.

24. Count 10 charged Petitioner with Discharge of a Firearm in Furtherance of a Drug Trafficking

Crime, in violation of 18 U.S.C. § 924(c)(1)(A). Id.

       According to the Presentence Investigation Report, Petitioner was involved with a drug

trafficking organization operating in Hampton and Newport News, Virginia. ECF No. 30.

Petitioner sold large quantities of cocaine on the Peninsula between August 2015 and February

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Case 4:17-cr-00011-RAJ-DEM Document 44 Filed 11/06/20 Page 2 of 7 PageID# 213




2017. Id. During the investigation, law enforcement interviewed numerous confidential sources

and co-conspirators, and conducted a number of undercover drug transactions in which Petitioner

sold cocaine to undercover law enforcement agents. Id. Additionally, Petitioner directed others in

connection with the purchase and transportation of cocaine. Id. On June 9, 2016, Petitioner shot a

purchaser and subsequently threatened and bribed the purchaser with additional drugs and money

to prevent him from identifying Petitioner to authorities. Id.

       On October 3, 2017, Petitioner was sentenced to 240 months imprisonment for Count 1

and 144 months imprisonment for Count 10 for a total of 384 months, all to be served

consecutively. ECF No. 36.

       Petitioner filed the instant motion pursuant to 28 U.S.C. § 2255 on August 7, 2020. ECF

No. 40. Petitioner contends that his offense of conviction cannot qualify as a crime of violence

under 18 U.S.C. § 924(c)(3) after the United States Supreme Court's("Supreme Court") ruling in

United States v. Davis., 139 S. Ct. 2319(2019). The Government filed its Response in Opposition

on September 28, 2020. ECF No. 43. Petitioner did not file a reply. After reviewing the parties'

filings, the Court has determined that a hearing on this matter is not necessary. Accordingly, the

matter is ripe for disposition.

                                       II. LEGAL STANDARDS


A. Section 2255


       Section 2255 allows a federal prisoner "claiming the right to be released upon the ground

that the sentence was imposed in violation of the Constitution or laws of the United States ...[to]

move the court which imposed the sentence to vacate, set aside or correct the sentence." 28 U.S.C.

§ 2255. In a § 2255 motion, the petitioner bears the burden of proving his or her claim by a

preponderance of the evidence. See Miller v. United States., 261 F.2d 546, 547 (4th Cir. 1958).
Case 4:17-cr-00011-RAJ-DEM Document 44 Filed 11/06/20 Page 3 of 7 PageID# 214




Additionally, pro se filers are entitled to more liberal construction of their pleadings. Erickson v.

Pardus, 551 U.S. 89,94(2007).

        When deciding a § 2255 motion, the Court must promptly grant a hearing "unless the

motion and the files and records of the case conclusively show that the prisoner is entitled to no

relief." 28 U.S.C. § 2255(b). Motions under § 2255 generally "will not be allowed to do service

for an appeal." Sunal v. Large, 332 U.S. 174, 178-79(1947). For this reason, issues already fully

litigated on direct appeal may not be raised again under the guise of a collateral attack. United

States V. Dyess, 730 F.3d 354, 360 (4th Cir. 2013). Issues that should have been raised on direct

appeal are deemed waived, procedurally defaulted, and cannot be raised on a § 2255 Motion.

United States v. Mikalajunas, 186 F.3d 490,492(4th Cir. 1999). However, an individual may raise

a procedurally defaulted claim if he or she can show (1)"cause and actual prejudice resulting from

the errors of which he complains;" or(2)that"a miscarriage ofjustice would result from the refusal

ofthe court to entertain the collateral attack   [meaning]the movant must show actual innocence

by clear and convincing evidence." Id. at 492-93. To demonstrate cause and prejudice, a petitioner

must show the errors "worked to [his or her] actual and substantial disadvantage, infecting [his or

her] entire trial with error of constitutional dimensions." United States v. Frady,456 U.S. 152,170

(1982).

B. Drug Trafficking Crimes and Crimes of Violence Under 18 U.S.C.§ 924(c)(1)

        Section 924(c)(1)(A) provides that a person who uses or carries a firearm "during and in

relation to any crime of violence or drug trafficking crime" or who "possesses a firearm" "in

furtherance of any such crime" may be convicted of both the underlying crime(s) and the

additional, distinct crime of utilizing a firearm in connection with a "crime of violence or drug

trafficking crime."
Case 4:17-cr-00011-RAJ-DEM Document 44 Filed 11/06/20 Page 4 of 7 PageID# 215




         Section 924(c)(2) defines a "drug trafficking crime" as "any felony punishable under the

Controlled Substances Act (21 U.S.C. 801 et seq.), the Controlled Substances Import and Export

Act(21 U.S.C. 951 et seq.), or chapter 705 of title 46." Furthermore, § 924(c)(3) defines "crime

of violence" as "an offense that is a felony" and

        (A) has as an element the use, attempted use, or threatened use of physical force
        against the person or property of another, or
        (B) that by its nature, involves a substantial risk that physical force against the
        person or property of another may be used in the course of committing the offense.

18 U.S.C. § 924(c)(3). Courts commonly refer to § 924(c)(3)(A) as the "force clause" and to §

924(c)(3)(B) as the "residual clause." The "residual clause" of § 924(c)(3)(B) has been held

unconstitutionally vague by the Supreme Court in United States v. Davis, 139 S. Ct. 2319(2019).'

Therefore, any analysis of whether a felony offense constitutes a crime of violence must meet the

force clause. See 18 U.S.C. § 924(c)(3)(A).

                                                  III. DISCUSSION


         As a preliminary matter. Petitioner's Motion is untimely. In 1996, Congress amended the

law goveming § 2255 motions as part of the Antiterrorism and Effective Death Penalty Act. See

Pub. L. No. 104-132, Title 1, § 105, 110 Stat. 1220. Title 28, U.S.C. § 2255 now provides in

relevant part:

        "A 1-year period of limitation shall apply to a motion under this section. The
        limitation period shall run from the latest of-

        (1)the date on which the judgment of conviction becomes final;
        (2)the date on which the impediment to making a motion created by governmental
         action in violation of the Constitution or laws of the United States is removed, if
        the movant was prevented from making a motion by such governmental action;
        (3) the date on which the right asserted was initially recognized by the Supreme
        Court, if that right has been newly recognized by the Supreme Court and made
        retroactively applicable to cases on collateral review; or

'See also Sessions v. Dimaya, 138 S. Ct. 1204(2018)(holding a similar residual clause defining crimes of violence
in 18 U.S.C. § 16(b) to be unconstitutionally vague); Johnson v. United States, 135 S. Ct. 2551 (2015)(holding
another residual clause defining crimes of violence in 18 U.S.C. § 924(e)(2)(B) to be unconstitutionally vague).
                                                        4
Case 4:17-cr-00011-RAJ-DEM Document 44 Filed 11/06/20 Page 5 of 7 PageID# 216




        (4)the date on which the facts supporting the claim or claims presented could have
        been discovered through the exercise of due diligence."

28 U.S.C. § 2255 (2004). To determine whether Petitioner has timely filed his motion, the Court

must measure one year from the most recent date provided by § 2255 Subsections One through

Four.


        For the purposes of Subsection One, Petitioner did not seek appeal of his conviction and

sentence, making his conviction final when the time for filing a notice of appeal expired. See Clay

V. United States, 537 U.S. 522(2003). Petitioner's conviction therefore became final 14 days after

the date ofhis sentencing, or October 17,2017. Subsection Two does not apply because Petitioner

has not alleged that any impediment in violation of the Constitution or laws of the United States

prevented him from filing his motion. Under Subsection Three, Petitioner has identified newly

recognized rights under Davis; however, the one-year time period expired on June 24, 2020-one

year after the Supreme Court issued the Davis opinion. Finally, under Subsection Four, Petitioner

does not allege that he was unable to discover any facts supporting his claim through due diligence.

        Turning back to Subsection Three, Petitioner does indicate that in light of the ongoing

COVID-19 pandemic, his corrections facility "has been on lock-down since March 14, 2020 and

access to [the] law library has been [] impossible." ECF No. 40 at 3. The Court recognizes that

Petitioner may have experienced issues in attempting to timely file the present motion while facing

the impact of a global pandemic. Accordingly, the Court will toll the filing deadline under

Subsection Three pursuant to Holland v. Florida, 560 U.S. 631 (2010), as the circumstances

surrounding the pandemic were both extraordinary and beyond Petitioner's control.

        As for the substance ofPetitioner's claim, Petitioner relies on the Supreme Court's holding

in United States v. Davis to support his proposition that because the residual clause of §
Case 4:17-cr-00011-RAJ-DEM Document 44 Filed 11/06/20 Page 6 of 7 PageID# 217




924(c)(3)(B) is unconstitutionally vague, his conviction on Count 10 cannot stand. See EOF No.

40. Petitioner's contention is without merit.


       Petitioner's offenses are unaffected by the Supreme Court's jurisprudence on § 924(c)(3).

Petitioner was convicted for Discharge of a Firearm in Furtherance of a Drug Trafficking Crime,

in violation of 18 U.S.C. § 924(c)(1)(A). Petitioner's criminal conduct does not require an

assessment of any definition of a "crime of violence" under § 924(c)(3). Instead, Petitioner took

part in a "drug trafficking crime" which is defined in § 924(c)(2) as "any felony punishable under

the Controlled Substances Act (21 U.S.C. 801 et seq.), the Controlled Substances Import and

Export Act(21 U.S.C. 951 et seq.), or chapter 705 of title 46."

       In this case, the superseding indictment names Count 1 and Count 8—Possession with

Intent to Distribute Cocaine Base, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C)—as the

underlying offenses supporting Count 10, the offense at issue. ECF No. 15. Both Counts 1 and 8

are felonies under the Controlled Substances Act which qualifies Counts 1 and 8 as "drug

trafficking crimes" under § 924(c)(2). Accordingly, Petitioner's claim fails because the legal

precedents invalidating residual clauses do not apply to his sentence because Petitioner's conduct

is related to drug trafficking crimes, not crimes of violence. Therefore, Petitioner was properly

convicted and sentenced for Count 10, Discharge of a Firearm in Furtherance of a Drug

Trafficking Crime, in violation of 18 U.S.C. § 924(c)(1)(A), and his claim under United States v.

Davis is without merit.


                                           IV. CONCLUSION


       For the reasons above. Petitioner's Motion is DENIED.

       This Court may issue a certificate of appealability only if the applicant has made a

substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c); Fed. R. App. P.
Case 4:17-cr-00011-RAJ-DEM Document 44 Filed 11/06/20 Page 7 of 7 PageID# 218




22(b)(1). This means that Petitioner must demonstrate that "reasonable jurists could debate

whether... the petition should have been resolved in a different manner or that the issues presented

were 'adequate to deserve encouragement to proceed further.'" Slack v. McDaniel, 529 U.S. 473,

484(2000){quoting Barefoot v. Estelle,463 U.S. 880,893,n.4(1983));see United States v. Swaby,

855 F.3d 233, 239 (4th Cir. 2017). Petitioner's claims are based on incorrect interpretations of

statutory provisions and judicial precedent. As such. Petitioner fails to demonstrate a substantial

showing of a denial of a constitutional right, and a Certificate of Appealability is DENIED.

       In addition, the Court ADVISES Petitioner that he may appeal from this final Order by

forwarding a written notice of appeal to the Clerk ofthe United States District Court, United States

Courthouse, 600 Granby Street, Norfolk, Virginia 23510. The Clerk must receive this written

notice within sixty(60) days from this Order's date. The Court DIRECTS the Clerk to provide a

copy of this Order to all Parties.

       IT IS SO ORDERED.


Newport News, Virginia                                                  mond A,Jackson
November^,2020                                                     United States Distiict Judge
